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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.            CV 22-4355 JFW (JEMx)                                     Date       January 10, 2023
 Title               Yuga Labs, Inc. v. Ripps, et al.




 Present: The Honorable               JOHN E. MCDERMOTT, UNITED STATES MAGISTRATE JUDGE

                         S. Lorenzo
                        Deputy Clerk                                     Court Reporter / Recorder
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                                                                                   None
 Proceedings:                 ORDER RE PLAINTIFF YUGA LABS, INC.’S
                              MOTION TO COMPEL PURSUANT TO LOCAL RULE 37-2
                              (Dkt. No. 66)


      Before the Court is a Motion To Compel (“Motion”) supplemental document
productions and responses to interrogatories filed by Plaintiff Yuga Labs, Inc. (“Yuga”)
on December 27, 2022. (Dkt. 66.) Yuga and Defendant Ryder Ripps filed a Joint
Stipulation on that same date. (Dkt. 67.) Both parties filed Supplemental Memoranda on
January 3, 2023. (Dkt. 70, 71.)
      At issue are Request for Production Nos. 1, 2, 3, 6, 8, 9, 13, 14, 16, 17, 18, 19, 20,
21, 22, 23, 24, 25, 26, 27, 28 and 32, and Interrogatory Nos. 3, 7, 8, 10, 11, 13, 15, 16 and
17. (Dkt. 67 at 2.)

      The Court cannot discern what discovery requests remain in dispute. As to every
discovery request, Defendant contends that he already has produced documents or
answers or will have done so by the date of hearing of the Motion on January 17, 2023.
(The Court vacated the hearing date. (Dkt. 72)). (Dkt. 67 at 6-8.) Defendant says that
Yuga failed to meet and confer on RFP Nos. 1, 2, 3, 6, 13, 14, 16, 21, 22, 26, 27 and 28,
and Int. Nos. 7, 11 and 13. (Dkt. 67 at 7.) Nonetheless, Defendant in its discovery
responses agreed to produce documents and answers. Defendant also claims that he made
major productions on December 23 and 27 and supplemental interrogatory responses on
December 28. (Dkt. 70 at 1-2.) Defendant also says that Yuga made no complaints at a
meet and confer on December 29. Defendant therefore contends that the Motion is moot.



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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
 Case No.       CV 22-4355 JFW (JEMx)                                 Date   January 10, 2023
 Title          Yuga Labs, Inc. v. Ripps, et al.

       The Court therefore will require Defendant to complete its document production
and interrogatory responses by January 17, 2023 in accord with Defendant’s
representations. Both parties are ordered to meet and confer on any remaining issues, in
particular the issues raised by Yuga in its Supplemental Memorandum. (Dkt. 71.) The
Court ORDERS Defendant to serve a verification by Mr. Ripps that he has produced all
relevant non-privileged documents and interrogatory answers in his custody, control or
possession also on January 17, 2023. Should any issues remain, Yuga can file a Joint
Status Report thereafter but only after meeting and conferring first.



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                                                    Initials of Preparer           slo




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